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                                   3                                UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                       SAN JOSE DIVISION

                                   6

                                   7     JUDY MAY,                                       Case No. 24-cv-01314-BLF
                                   8                   Plaintiff,
                                                                                         ORDER GRANTING DEFENDANTS'
                                   9             v.                                      MOTION FOR LEAVE TO FILE
                                                                                         MOTION FOR RECONSIDERATION
                                  10     GOOGLE LLC, et al.,                             OF THE COURT’S JULY 17, 2024,
                                                                                         ORDER ON GOOGLE’S MOTION TO
                                  11                   Defendants.                       STAY DISCOVERY AND DIRECTING
                                                                                         PLAINTIFF TO FILE A RESPONSE
                                  12
Northern District of California
 United States District Court




                                                                                         [Re: ECF 83]
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                                              The Court has reviewed Defendants’ request for leave to file for reconsideration and finds
                                  15
                                       that reconsideration meets the requirements of Local Rule 7-9. ECF 83. Thus, the Court GRANTS
                                  16   Defendants’ request for leave to file for reconsideration and DEEMS the included Motion for
                                  17   Reconsideration to be Defendants’ motion. See ECF 83-1.
                                  18          Plaintiff SHALL file a response, which shall not exceed five (5) double-spaced pages, to
                                  19   Defendants’ motion for reconsideration on or before November 7, 2024.

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                                  21          IT IS SO ORDERED.

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                                  23   Dated: October 28, 2024

                                  24                                                 ______________________________________
                                                                                     BETH LABSON FREEMAN
                                  25                                                 United States District Judge
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